                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           CASE NO. 1:14-CV-954

STUDENTS FOR FAIR ADMISSIONS,                  )
INC.,                                          )
                                               )
                             Plaintiff,        )
                                               )   DEFENDANTS’ MEMORANDUM
v.                                             )   OF LAW IN SUPPORT OF THEIR
                                               )   MOTION TO DISMISS UNDER
THE UNIVERSITY OF NORTH                        )   FRCP 12(b)(1)
CAROLINA AT CHAPEL HILL, et al.,               )
                                               )   [REDACTED]
                             Defendants.       )
                                               )
                                               )

       Pursuant to Federal Rule of Civil Procedure 12(b)(1), The University of North

Carolina at Chapel Hill and other Defendants respectfully submit this memorandum of

law in support of their motion to dismiss for lack of subject matter jurisdiction. Plaintiff

Students for Fair Admissions cannot meet its burden of proving its eligibility for

representational standing—a necessary prerequisite for SFFA to be able to pursue any

claims on behalf of its constituents. The Court, therefore, should dismiss the case for

lack of subject matter jurisdiction.

                                       Standard of Review

       A plaintiff bears the burden of establishing subject matter jurisdiction. See

McNutt v. Gen. Motors Acceptance Corp., 298 U.S. 178, 189 (1936); U.S. ex rel. Vuyyuru

v. Jadhav, 555 F.3d 337, 347 (4th Cir. 2009); N. C. State Conference of the NAACP v. N.

C. State Bd. of Elections, No. 1:16CV1274, 2017 WL 4286275, at *2 (M.D.N.C. Sept.

26, 2017). Deriving from Article III’s “cases and controversies” requirement,




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demonstrating subject matter jurisdiction requires a showing of proper standing. N. C.

State Conference of the NAACP, 2017 WL 4286275, at *3. “When a defendant

challenges subject matter jurisdiction pursuant to Rule 12(b)(1), the district court is to

regard the pleadings as mere evidence on the issue, and may consider evidence outside

the pleadings without converting the proceeding to one for summary judgment.” Evans

v. B. F. Perkins Co., 166 F.3d 642, 647 (4th Cir. 1999) (citation omitted) (internal

quotations omitted). See also N. C. State Conference of the NAACP, 2017 WL 4286275,

at *2. When a plaintiff does not have standing, the court lacks subject matter jurisdiction

and should dismiss the complaint. See Vuyyuru, 555 F.3d at 347.


                                       ARGUMENT

       Plaintiff’s lawsuit challenges the constitutionality of the University’s

undergraduate admissions process. But SFFA does not bring this suit against the

University for relief for the organization itself. Although an organization may bring suit

in its own right—see, e.g., N. C. State Conference of the NAACP, 2017 WL 4286275, at

*3 (explaining that an organization that suffers an injury itself may be able to establish

“organizational standing”)—SFFA’s complaint does not allege any injury to the

organization itself.

       Instead, SFFA asserts “representational standing,” (also referred to as

“associational standing”) to pursue claims on behalf of its members, including individuals

who were denied undergraduate admission to the University, individuals who intend to

apply for undergraduate admission to the University, and the parents of both of these


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groups. Ex. 1, Plaintiff’s Objections and Responses to Defendants’ First Combined

Discovery Requests, July 13, 2015, General Objection 8 at p. 2-3. Indeed, Edward Blum

formed SFFA in 2014 for the purpose of “eliminat[ing] the consideration of race in K

through 12 admissions decisions and higher education admissions decisions.” Ex. 2,

Deposition of Edward Blum (“Blum Dep.”) at 56:21-23. The primary means of

achieving this objective was to be through litigation. Id. at 57:10-11. By providing

nothing more than a name and zip code through an online registration form, anyone could

join SFFA and be considered a member of the organization. Id. at 110:10-23.

       As shown below, however, SFFA is not a member-driven organization. Although

SFFA claims that it represents these constituents, these individuals do not participate

meaningfully in the organization, barely provide any funding for the organization, and do

not control or influence the organization. In short, they lack the key characteristics of

members of a true membership organization. As a result, SFFA cannot satisfy the

threshold requirement of eligibility for representational standing.

I.     SFFA Bears the Burden of Proving Standing.

       “Standing is a threshold jurisdictional question which ensures that a suit is a case

or controversy appropriate for the exercise of the courts’ judicial powers under the

Constitution of the United States.” Pye v. United States, 269 F.3d 459, 466 (4th Cir.

2001) (citing Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 102 (1998)). As the

party invoking federal jurisdiction, SFFA has the burden to prove standing or else the

action must be dismissed. Vuyyuru, 555 F.3d at 347 (“When, as here, a defendant

challenges the existence of subject matter jurisdiction in fact, the plaintiff bears the

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burden of proving the truth of such facts by a preponderance of the evidence.”); see also

N. C. State Conference of the NAACP, 2017 WL 4286275, at *2.

       Moreover, when an organizational plaintiff asserts that it has representational

standing, courts do not accept this assertion at face value. See Wash. Legal Found. v.

Leavitt, 477 F. Supp. 2d 202, 209-211 (D.D.C. 2007) (examining the relationship between

plaintiff organization and its purported members to assess whether organization could

assert representational standing); AARP v. U. S. Equal Emp’t Opportunity Comm’n, 226 F.

Supp. 3d 7, 16 (D.D.C. 2016) (noting that a plaintiff’s “mere assertion that an individual is

a ‘member’ of an organization is not sufficient to establish membership”). To the

contrary, courts closely examine the plaintiff organization, how it operates, and its

relationship with its constituents. See Hunt v. Wash. State Apple Advert. Comm’n, 432

U.S. 333, 344-45 (1977) (examining, among other things, whether the plaintiff functioned

like a membership organization and whether its constituents had the indicia of

membership); Package Shop, Inc. v. Anheuser-Busch, Inc., No. CIV. A. 83-513, 1984 WL

6618, at *39 (D.N.J. Sept. 25, 1984) (“The question of whether Wine & Spirits can

legitimately speak for its members turns on whether the organization, in fact, does have a

true membership.”) (emphasis added).

       As noted above, when a court considers a plaintiff’s claim of representational

standing in the context of a Rule 12(b)(1) motion to dismiss, “the district court is to regard

the pleadings as mere evidence on the issue, and may consider evidence outside the

pleadings without converting the proceeding to one for summary judgment.” Evans, 166

F.3d at 647 (citation omitted).

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II.    SFFA Cannot Satisfy the Threshold Requirement of Eligibility for
       Representational Standing.

       Although there is no doubt that an association may have the right to seek judicial

relief on behalf of its constituents through representational standing, mere status as an

organization does not automatically confer such standing. Instead, as the Supreme Court

explained in Hunt, an organizational plaintiff bears the threshold burden of proving that it

is eligible for representational standing, and then it must prove that it meets separate

representational standing requirements also articulated in Hunt. See Oregon Advocacy

Ctr. v. Mink, 322 F.3d 1101, 1110 (9th Cir. 2003) (first examining whether plaintiff

organization had “members” or their functional equivalent, and separately examining

whether plaintiff met standing requirements); Heap v. Carter, 112 F. Supp. 3d 402, 418-

19 (E.D. Va. 2015) (dismissing organizational plaintiff, in part because the plaintiff did

not prove that it was an organization capable of asserting representational standing); Grp.

Health Plan, Inc. v. Philip Morris, Inc., 86 F. Supp. 2d 912, 917 (D. Minn. 2000),

certified question answered, 621 N.W.2d 2 (Minn. 2001) (“Before undertaking the Hunt

tripartite analysis, however, the Court must first determine whether the plaintiff is the

type of organization capable of asserting associational standing”); Allstate Ins. Co. v. City

of Chicago, No. 02 C 5456, 2003 WL 1877670, at *3 (N.D. Ill. Apr. 14, 2003) (“Before

considering the [Hunt] factors above, the threshold question is whether the insurance

companies even qualify as an association and its insureds as members.”).

       In assessing an organization’s eligibility to assert representational standing—

separate from the actual standing requirements—the Supreme Court in Hunt set forth


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three facts that it considered in reaching its conclusion that the organization at issue was

eligible for representational standing: (1) whether the organization for all practical

purposes performed the functions of a traditional trade association; (2) whether the

organization served a specialized segment of the State’s economic community, which is

the primary beneficiary of its activities; and (3) whether its constituents possessed all of

the “indicia of membership” in an organization. Hunt, 432 U.S. at 344.

       Since Hunt, those courts that have evaluated eligibility for representational

standing have regularly examined whether the organization’s constituents possess indicia

of membership. See, e.g., Gettman v. Drug Enf’t Admin., 290 F.3d 430, 435 (D.C. Cir.

2002) (dismissing magazine’s petition for review in part on lack of representational

standing grounds because proposed constituents lacked indicia of membership); Doe v.

Stincer, 175 F.3d 879, 886 (11th Cir. 1999) (analyzing only whether plaintiff

organization’s constituents had indicia of membership and served a specialized segment of

the community); Heap, 112 F. Supp. 3d at 419 (dismissing organizational plaintiff in part

because plaintiff did not prove that its members had certain indicia of membership,

without examining other eligibility criteria). Because SFFA’s members lack indicia of

membership in an organization, SFFA cannot clear the threshold hurdle of eligibility for

representational standing. Therefore, the Court’s inquiry should end here as should this

lawsuit.

       A.     SFFA’s Constituents Lack Indicia of Membership.

       Critically, SFFA’s constituents lack indicia of membership that are required for

SFFA to be able to bring this lawsuit on their behalf. Hunt made clear that the “indicia of

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membership” inquiry itself includes three considerations: (1) that constituents alone may

serve as part of the organization; (2) that constituents alone finance the organization’s

activities, including the costs of the lawsuit; and (3) that the constituents provide the

leadership of the organization. See Hunt, 432 U.S. at 344. Since the Supreme Court

decided Hunt in 1977, courts have applied and developed these principles to a variety of

organizations and contexts. With respect to each consideration, SFFA cannot meet its

burden to prove sufficient indicia of membership.

              1.      SFFA’s Constituents Do Not Meaningfully Participate or Serve
                      in the Organization.

       In assessing whether constituents are members for purposes of representational

standing, the Court must examine whether constituents serve in leadership roles or at

least participate generally in an organization. See Disability Advocates, Inc. v. N.Y. Coal.

for Quality Assisted Living, Inc., 675 F.3d 149, 158-59 (2d Cir. 2012) (applying Hunt and

determining that plaintiff organization lacked indicia of membership because its

constituents lacked “a sufficiently active affiliation with the organization” or “the power

to elect its directors, make budget decisions, or influence [the organization’s] activities or

litigation strategies”); Concerned Citizens Around Murphy v. Murphy Oil USA, Inc., 686

F. Supp. 2d 663, 675 (E.D. La. 2010) (applying Hunt and noting “[A] person becomes a

member [of the plaintiff organization] through active, voluntary involvement, such as by

attending neighborhood or strategy team meetings”); Ctr. for Sustainable Econ. v. Jewell,

779 F.3d 588, 598 (D.C. Cir. 2015) (applying Hunt and holding that the organization was




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a traditional membership organization and emphasizing that “[plaintiff’s] members and

its President aver that they participate actively in CSE’s operations”).

       Discovery in this litigation, including the testimony of SFFA’s President and a

member designated for standing purposes, revealed that SFFA’s members do not play a

meaningful role in the organization beyond the mere act of joining, much less serve in

leadership roles. For example, after joining, individuals have no responsibilities or duties

in the organization. Ex. 3, Deposition of Standing Member #1 (“Standing Member #1

Dep.”), at 46:8-10 (Q. Do you have any duties or responsibilities just in the ordinary

course per month or year as a member? A. No.). Similarly, SFFA has no committees for

its constituents to serve on, meetings to attend, or activities to participate in. See Ex. 2,

Blum Dep., at 114:21-116:1. Besides a teleconference every few months, there are no

organizational opportunities for SFFA’s constituents to interact with each other or the

organization’s leadership. Id.

       Nor does membership in SFFA confer many rights. Indeed, SFFA’s original

bylaws did not grant members any rights at all. Ex. 4, SFFA Original Bylaws, at Section

3.02. Even the amended bylaws provide only the right to vote for a single director and

the right to resign. Ex. 5, SFFA Amended Bylaws, at Sections 3.02, 3.03. Thus, without

any responsibilities and with rights that are limited at best, SFFA’s constituents do not

have “a sufficiently active affiliation with the organization,” Disability Advocates, 675

F.3d at 158–59; do not “participate actively” in SFFA’s operations, Ctr. for Sustainable

Econ., 779 F.3d at 598; and do not have “active, voluntary involvement” in SFFA,



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              know that you have that right? A. Because I was told. Q. By who? A. By
              legal counsel. Q. Okay. When? A. Recently, like the last week or so. Q.
              Okay. Before that point in time, did you know that you had a right to vote
              for -- vote for any position in the organization? A. No.).

Thus, except for giving a name and address to SFFA in August 2014 and preparing for a

deposition in June 2017, even SFFA’s hand-picked representative has been virtually

uninvolved in the organization. Such minimal involvement does not constitute

meaningful participation in the organization.

              2.     SFFA is Not a Constituent-Funded Organization.

       In addition to not participating generally in the organization and not serving in

leadership roles, SFFA’s constituents provide almost none of the organization’s funding.

The absence of constituent funding is a factor that courts often rely upon when ruling that

an organization lacks eligibility for representational standing. See e.g., Nestle Ice Cream

Co. v. N.L.R.B., 46 F.3d 578, 586 (6th Cir. 1995) (concluding that plaintiff union lacked

representational standing to represent employees because they lacked indicia of

membership in an organization, specifically, that “[t]he employees had no power to elect

Teamsters officials [and] did not finance the Teamsters”); Package Shop, 1984 WL 6618,

at *40 (granting motion to dismiss and noting that members “do not finance the

organization, except indirectly, through their one-time contribution”). In contrast, being

entirely member-financed weighs in favor of representational standing. See Concerned

Citizens, 686 F. Supp. 2d at 676 (finding that organization had representational standing,

in part because it had “no external financing” at all).




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$2.8 million—from membership dues. Ex. 2, Blum Dep. at 73:23-24 (about a hundred

new members have paid the $10 membership fee). But even if more people had paid a

fee upon joining the organization, an indirect, “one-time contribution” is not enough to

make SFFA a member-funded organization. See Package Shop, 1984 WL 6618 at *40

(concluding that organization could not sue on behalf of members, in part because

“members do not finance the organization, except indirectly, through their one-time

contribution”).

              3.     SFFA’s Leadership Structure Does Not Provide Sufficient Ways
                     For Constituents to Control or Influence the Organization.

       Finally, the constituents that SFFA purportedly represents do not have any

meaningful control or influence over the organization. For example, electing an

organization’s leaders is often considered a critical component of eligibility for

representational standing. See e.g. Nestle Ice Cream, 46 F.3d at 586 (employees lacked

indicia of membership in plaintiff union, in part because “[t]he employees had no power

to elect Teamsters officials”); Disability Advocates, 675 F.3d at 159 (organization lacked

representational standing because it did not provide evidence that its constituents had the

power to elect directors or influence activities). In addition to elections, courts have

looked at other ways constituents control or influence an organization. To illustrate, if

constituents exercise control or influence through means such as advisory committees,

courts have been more likely to find that the organization has representational standing.

See, e.g., Stincer, 175 F.3d at 886 (advocacy organization created for people with mental

health disabilities had representational standing, in part because its governing board was


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required to include constituents, and because 60% of the organization’s advisory council,

including the chair, was required to be constituents); AARP, 226 F. Supp. 3d at 17

(finding that AARP has representational standing in part because its members serve on

committees that advise the board and guide AARP activities through annual polls and

surveys).

      Even pursuant to a broad interpretation of control or influence over an

organization, however, SFFA lacks these characteristics.

      First, the board of directors is almost entirely self-appointed, which weighs

heavily against a finding that SFFA has representational standing. See Package Shop,

1984 WL 6618 at *40 (granting motion to dismiss and questioning plaintiff’s status as a

membership organization in part because “[t]he organization essentially is run by people

who are self-appointed”). SFFA’s three original directors—the current president,

secretary, and treasurer—were self-appointed. Ex. 9, SFFA’s Articles of Incorporation,

at ¶ 3. Even when SFFA expanded the board to five positions, four of the five directors

remained self-appointed. See Ex. 5, SFFA Amended Bylaws, at Section 4.02 (allowing

only a single director to be elected by members). Additionally, Mr. Blum, as president,

performs nearly all of the board’s work himself:

             Mr. Blum manages the day-to-day activities of the organization, including
              communications with counsel and constituents, outreach, and media
              relations (Ex. 2 (Blum Dep.) at 53:24-25);

             Mr. Blum does fundraising work, including drafting grant proposals,
              sending grant proposals, following up on grant proposals, making
              presentations to foundations, making presentations to individuals, and
              making phone calls to individuals and foundations (Id. at 46:18-22);


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             Mr. Blum prepares agendas for phone calls among board members (Id. at
              51:14-24);

             Mr. Blum gives speeches and presentations (Id. at 112:7-13); and

             Mr. Blum approves content for social media campaigns (Id. at 21:21-24).

Because SFFA has only a single elected director, and because the president effectively

runs the organization by himself, SFFA “essentially is run by people who are self-

appointed” and lacks representational standing. See Package Shop, 1984 WL 6618 at

*40.

         Second, SFFA’s leadership structure does not allow constituents to exercise

meaningful control or influence over the organization. SFFA has no member committees

that would allow constituents to control or influence the organization. See Ex. 2, Blum

Dep., at 114:21-116:1. Cf. Stincer, 175 F.3d at 886 (advocacy organization created for

people with mental health disabilities had representational standing, in part because its

governing board was required to include constituents, and because 60% of the

organization’s advisory council, including the chair, was required to be constituents);

AARP, 226 F. Supp. 3d at 17 (finding that members could influence plaintiff organization

by serving on board advisory committees). SFFA’s constituents cannot remove a director

for any reason, which means they can neither use nor threaten removal as a way of

controlling directors. Ex. 2, Blum Dep., at 50:5-11. Thus, SFFA’s organizational

structure allows a largely self-appointed board to operate without meaningful control or

influence by its constituents. This leadership framework is not one of the “indicia of

membership” under Hunt. See also Package Shop, 1984 WL 6618, at *41 (granting


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motion to dismiss and holding that plaintiff lacked association, in large part because “it

does not appear that the membership can control the actions of the officers and trustees,

most of whom they did not elect. . . . The alleged members . . . do not have the control

over the organization which would give it standing to sue on their behalf”).

                                    *      *        *

       As a threshold issue, to be eligible for representational standing, a plaintiff must

prove that it is a genuine membership organization. SFFA cannot do so. SFFA lacks

significant constituent participation, is funded almost entirely by outside groups rather

than constituents, and fails to provide constituents with meaningful influence and control

over the organization. Because SFFA’s constituents lack indicia of membership, the

organization has failed to carry its burden of proving that it has standing to bring this

lawsuit challenging the University of North Carolina at Chapel Hill’s undergraduate

admissions practices.




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                                       CONCLUSION

       For these reasons, the Court should dismiss the complaint under Rule 12(b)(1) for

lack of subject matter jurisdiction.

       Respectfully submitted this 25th day of October, 2017.

                                                    JOSH STEIN
                                                    Attorney General

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                        CERTIFICATE OF WORD COUNT

      Pursuant to Local Rule 7.3(d)(1), I hereby certify that the body of this brief,

including headings and footnotes, does not exceed 6,250 words.

      This 25th day of October, 2017.

                                                        /s/ Michael Scudder
                                                        Michael Scudder




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                             CERTIFICATE OF SERVICE

       I hereby certify that I served the foregoing Defendants’ Memorandum of Law In

Support of Their Motion to Dismiss Pursuant to FRCP 12(b)(1) via the Court’s electronic

filing systems, pursuant to the Electronic Filing Procedures, on all attorneys of record

who have entered an appearance by ECF in this matter.

       This 25th day of October, 2017.

                                                        /s/ Michael Scudder
                                                        Michael Scudder




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